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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )

               v.                             )      CR. NO. 21-70 (ABJ)

SAMUEL CAMARGO                                )


               SUPPLEMENT TO UNOPPOSED MOTION TO CONTINUE

       Samuel Camargo, through undersigned counsel, respectfully files this Supplement in

support of his motion to continue the April 13th status conference filed at ECF No. 55. The

defense requests a continuance of approximately 30 days. Government counsel and undersigned

counsel are available on May 16th, 17th, and 18th.



                                              Respectfully Submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER
                                              ____/s/________________
                                              UBONG E. AKPAN
                                              Assistant Federal Public Defender
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